     Case 2:24-cr-00091-ODW      Document 151-2 Filed 11/01/24       Page 1 of 1 Page ID
                                          #:1841



 1                            UNITED STATES DISTRICT COURT
 2                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
 3
 4        UNITED STATES OF AMERICA,                      No. CR 2:24-cr-00091-ODW
 5        Plaintiff,
 6        v.                                             [PROPOSED] ORDER
 7        ALEXANDER SMIRNOV,
 8        Defendant.
 9
10
11            Upon Consideration of the Government’s Second Motion in Limine to Exclude the
12   FBI Handing Agent’s Alleged Mistakes, and the Defendant’s Response thereto, the Court
13   grants the Motion and orders that the defendant is precluded from introducing evidence,
14   argument, or questioning at trial that pertains to alleged mistakes made by the defendant’s
15   FBI Handling Agent. These matters are irrelevant under Federal Rule of Evidence 401,
16   and are prejudicial under Federal Rule of Evidence 403, even if there was some probative
17   value.
18
19
20            Dated: ________________             SO ORDERED
21
22
23                                                ____________________________
24                                                The Honorable Otis D. Wright, III
25                                                United States District Judge
26
27
28
                                                 5
